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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

SAN ANTONIO HOUSING                            §
DEVELOPMENT CORPORATION                        §
                                               §
VS.                                            § NO. 5:19-CV-00250-JKP
                                               §
SCDC, LLC AND                                  §
NATIONWIDE AFFORDABLE                          §
HOUSING FUND 12, LLC                           §

                                   Notice of Settlement

        Plaintiffs, San Antonio Housing Development Corporation and Refugio Street

Public Facilities Corporation, and Defendants, SCDC, LLC, Nationwide Affordable

Housing Fund 12, LLC, and Nationwide Affordable Housing Fund 16, LLC, file this

Notice of Settlement and in support thereof respectfully show the Court as follows:

        1.       On March 5, 2020, the parties reached an agreement on the material terms

of a settlement in this matter.

        2.       The parties are in the process of documenting their settlement and

anticipate that they will be able to file an agreed dispositive order in the next 30 days.




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                                         Respectfully submitted,

COATS ROSE, P.C.                             DAVIS, CEDILLO & MENDOZA, INC.


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